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          Tandberg record details of 4/21/14 call



          Participant Dial in details   Participant's     Start time {1ST)   End time {1ST)
                                        Name
          COG-IND-CHN-                  T, Sridhar        21/04/14 16:00     21/04/14 17:01
          Sridhar'sHome-EX90 P2P
          Meeting

          COG-IND-CHN-TBM-B1-lF-        Rajeev Menon      21/04/14 16:00     21/04/14 17:01
          Rajeev Menon's Office-
          EX90 P2P Meeting

          COG-I ND-CH N-TCO-B2-GF-      Ramamoorthy       21/04/14 16:00     21/04/14 17:01
          Srimanikandan's Office-       Srimanikandan
          1700 P2P Meeting

          COG-US-Gordon's Home-         Gordon            21/04/14 16:42     21/04/14 17:01
          1700 P2P Meeting

          COG-US-                       Steven Schwartz   21/04/14 16:58     21/04/14 17:01
          StevenSchwartz'sHome-
          1700 P2P Meeting




FOIA Confidential Treatment Requested                                                         CTS-0000119
